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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

Kane, et al.
Plaintiffs,
VS. DECLARATION OF WILLIAM CASTRO
de Blasio, et al. Civil Action No. 1:21-cv-07863
Defendants.
STATE OF PENNSYLVANIA )

)ss.:
COUNTY OF NORTHAMPTON )

WILLIAM CASTRO, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,
that the following is true:
1) My name is William Castro.
2) I have worked in the New York City public school system for 12 years. My current
position is ELL Services Administrator.
3) I have religious objections to vaccines, and my faith does not allow me to take a COVID-
19 vaccine. Also, I have had anaphylaxis in reaction to ingredients that have the
possibility to cross react with those found in the mRNA vaccines, and my doctor wrote
me a medical exemption stating that especially since I had COVID-19 already, the risks
do not outweigh the benefits.
4) I submitted an application through the portal for Religious exemption request and was
immediately denied with a form letter that I believe was automatically issued to everyone
stating that I was denied because it would be an “undue hardship” to grant me an

exemption.
5)

6)

7)

8)

9)

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I appealed and attended a zoom hearing on Friday, October Ist. My attorney asked why I
was denied, pointing out that it is a violation of procedural due process to try to defend
against the denial when we don’t know why it was issued.

The NYC DOE attorney said that it was based on undue hardship, not being a part of a
recognized or established religion, and the assertion that certain religious figures have
spoken in support of COVID-19 vaccines.

My attorney asked how anyone would be accepted then if everyone was denied based on
undue hardship. The DOE attorney said that was all she would say. She then mentioned
that exemptions were denied for citing that aborted fetal cell materials as the reason for
objection and that there are not present in the mRNA Pfizer or Moderna vaccines,
according to Commissioner Chokshi.

I am not Catholic or subscribe to the doctrine of any particular religious figure who has
gone public in support of vaccines, and do not know why any religious figures mentioned
will be relevant to denying my exemption based on my sincere religious belief which was
attested to and affirmed by my pastor.

Moreover, my religious objections to the vaccine do not rest solely on the fact that the
three vaccines use aborted cell lines in research and development and I expressed other
grounds for my religious objection, including but not limited to objections related to the

use and participation in vaccines/therapeutics that utilize an mRNA platform.

10)I am not familiar with Commissioner Chokshi’s letter, and was not shown it, but I believe

it is a fact that aborted fetal cell lines were used during the research and development of
all three vaccines in one way or another and object to vaccinations that have benefited in

any way from abortion regardless of when and how far back or manner.
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11) The arbitrator acknowledged it is true insofar as they are used during some of the
experiments.

12) The DOE admitted that I fulfilled the components agreed to by the arbitrator and the
process requirements to receive a religious exemption but stated a denial was originally
given because I am a non-denominational born again believer, hence, it didn’t matter to
her that my pastor affirmed and attested to my sincere religious beliefs and outlined
biblical teachings and church practices that forbid believers from receiving said COVID-
19 vaccinations according to the practice of our faith.

13) I believe I am being persecuted for my faith and discriminated against because even
though I know | am not required to support my personally held sincere religious beliefs
with a letter form clergy, I provided a letter from my pastor who has not come out in
favor of COVID-19 vaccines and the DOE still initially denied my religious exemption
going against the arbitration agreement and ignored the fact that my pastor and I
explicitly expressed in writing that the grounds for objection are not solely based on use
of fetal tissue or aborted cell lines.

14) The NYC DOE attorney also said that the district would not accept personal religious
beliefs and denied me on that basis even though my beliefs are shared by my church. My
attorney told her that my church does not take a position in favor of vaccines, as indicated
by the letter from my pastor, and reminded her that I meet all the requirements even for
the discriminatory CSA arbitration award — I belong to a duly constituted church that has
not taken a position in favor of COVID-19 vaccination, I submitted a letter from clergy

that is not available online or in a printable template, none of the leaders of my church
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have made statements in support of vaccination on television, and my religious beliefs are
sincerely held and do not allow me to take one of these vaccines.

15) 1 do not know if the arbitrator will accept my exemption after consideration. Right now I
am “still pending.” This is causing me a tremendous amount of stress and mental
suffering as I am the provider of my household. I had to leave work early on Thursday as
I began suffering from severe headaches, felt dizzy, and sharp pain in my head.

16) Even if my exemption was accepted, the process alone feels like a violation of my
constitutional rights and also my most sacred faith. There was a lack of empathy and
compassion throughout the entire process and I was not afforded a closing statement as
per the flow of the hearing emailed to me the night prior. I was quickly rushed off the call
and not given a timeframe of when a possible decision would be made.

17) Also, the accommodation is not sufficient. If I’m allowed to continue working for the
NYC public schools, I cannot enter any school building and will be prohibited from
helping students and supporting teachers in person, though I worked throughout the
pandemic in multiple schools without vaccination or testing. I feel as if 1 am being treated
as I am carrying disease because I am practicing my faith.

18) I’ve had COVID-19 already and am naturally immune and I test weekly, so I am not a
threat to students or staff.

19)1 do not pose any greater threat to others based on my vaccine status.

20) If I am denied my exemption, our family will suffer severe hardship. My family does not
have a lot of money in reserve, and we would not be able to handle the loss of my salary.

21) More important than how this is impacting me, personally, though, is how it is going to

affect all of the children and school communities of NYC.
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22)1 grew up in public housing, attending public schools in New York City. Education is my
passion and my calling. It was the way out for me, and I believe it offers that way out for
the students I care so much about. I worked my way up to become an administrator at the
DOE and I know the most important factor to providing a great education is having a
teacher or educator that you have a strong relationship with.

23) Students will be losing many highly qualified educators with this mandate that have been
their social and emotional support throughout the pandemic and at the start of a school
year where students are returning to in-person learning in a stressful environment.

24) As an administrator, I am keenly aware of what the loss of 15,000 teachers and staff will
do to these vulnerable students. Many of these teachers will be replaced by subs who may
not possess the certifications necessary to provide mandated special education services
and English as a Second Language services according to applicable law and regulations.

25) The DOE has also put in place a program where temporary COVID-19 licenses will be
issued to candidates who have not completed the full course of study that many of the
unvaccinated and experienced teachers have.

26) Many of the teachers and staff that are getting terminated are people of color, who are
disproportionately affected by this mandate. The NYC public school system already
struggles to retain enough people of color to support the diverse student body, which
really thrives from diverse role models on the teaching staff.

27) Not only that, but our schools are chronically understaffed as it is, and teacher retention
rates are low and turnover is high.

28) I have conducted research that supports students learn best when they have teachers who

remain, and turnover 1s low.
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29) We support over a million children and are barely getting back on our feet after the
pandemic. It is a struggle as it is to make sure kids are not falling through the cracks, to
try to get them their necessary services and to make sure that we have enough teachers
and staff in the schools to keep them safe.

30) 1 am also concerned about the physical safety of our students. Unyaccinated educators
and staff have been getting tested and can demonstrate they are not transmitting the virus
to students or staff.

31) However, according to the DOE policy vaccinated staff do not have to get tested and
students who are not vaccinated but are wearing a mask and are socially distanced do not
have to quarantine if there is a positive case in their classes.

32) Vaccinated staff members can be infected, even asymptomatically, and still transmit the
virus to students and staff. The policies are anti-science and do not promote the safety of
students or support their socio-emotionally well-being.

33) I have heard directly and observed the fact that there have already been breakthrough
cases in the vaccinated across the school system. I have heard reports of schools not
having a certified ENL teacher to provide the required mandated minutes for ENL
SETVICES.

34) As an administrator, you can only get a sub if they decide to show up to work. I have
experienced requesting subs as an administrator, the sub accepting the assignment on the
system only to never show up to work and administrators having to collapse classes so
that students would be supervised.

35) These scenarios and conditions can create greater opportunities for community

transmission and illustrate how the DOE have not put safety as a priority as much as we
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are led to believe. Only those within the system can shed a light on these inconvenient
truths. Our students and communities deserve better.

36) Most school districts outside of NYC permit a testing option and have avoided these
disruptions. I find it appalling that our NYC students and communities of color have to
suffer disruptions in their education while less diverse school districts are not putting
their students through this trauma and chaos that produces more harm than good.

37) 1 pray that this Court can intervene and stop this injustice.

William Castro
